Case 2:04-CV-02717-BBD-tmp Document 27 Filed 04/27/05 Page 1 of 2 Page|D 44

 

Fii.»-ED E‘"," \ `
IN THE UNITED STATES DISTRICT COURT " “" " D’{"
FOR THE WESTERN DISTRICT OF TENNESSEE 05 §pp 27 PH _
WESTERN DIVISION 3' h 5
P.GBF=RT n »~»~
,,_ :.ioi.z
) F»."‘-r:.\'lv " `.:: i':'z.&;‘ ii:§T' §
H. KEVIN INGRAM, on behalf of himself ) " " ""= *“"~`¢`F"/;FP='IS
and all others similarly situated, )
)
Plaintiff, )
)
v. ) Case No. 04-2717-D
)
EXXON MOBIL CORPORATION and )
SPENCER GIFTS, LLC, )
)
Defendants. )
)

 

ORDER

 

On February 22, 2005, Defendants Exxon Mobil Corporation and Spencer Gifts, LLC, filed
a motion to dismiss the amended complaint of Plaintiff H. Kevin Ingram, on behalf of himself and
all others similarly situated. To date, Plaintiff has not responded to Det`endants’ motion. On April
25, 2005, the Court denied Plaintiff’s motion for remand. Accordingly, Plaintiff is hereby ordered
to file a Written response to the motion to dismiss Within ten days of the entry of this order.

Thereafter, the motion Will be decided on the existing record.

IT ls so 0RDERED this Q_L day 0prri1,2005.

 

UNITED STATES DISTRICT JUDGE

this document entered on the docke;sheet in cc§tpliance /`
mth Ru|e 58 and/or 79(a) FFtCP on `2 §§ 32 LQ 7

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-027l7 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listcd.

 

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Shelia B. Renfroe

THE RENFROE LAW FIRM, PLLC
P.O. Box 770095

l\/lemphis7 TN 38177--009

John E. Norris

THE RENFROE LAW FIRM
P.O. BoX 770095

l\/lemphis7 TN 38177--009

HoWard E. Jarvis

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC

900 S. Gay St.
Ste. 900
KnoX\/ille7 TN 37902--181

D. Frank Davis

THE RENFROE LAW FIRM
P.O. Box 770095

l\/lemphis7 TN 38177--009

Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview ToWer

900 South Gay St.

KnoX\/ille7 TN 37902

Honorable Bernice Donald
US DISTRICT COURT

